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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    JASON CLOVER, et al.,                             Case No.: 20-CV-567-LAB-WVG
12                                    Plaintiffs,
                                                        ORDER ON JOINT MOTION FOR
13    v.                                                PROTECTIVE ORDER
14    CAMP PENDLETON & QUANTICO
      HOUSING, et al.,
15
                                    Defendants.
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           On July 30, 2020, the Parties filed the pending Joint Motion for Protective Order,
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     seeking to preserve the confidentiality of certain documents and information to be
19
     exchanged throughout this litigation. (Doc. No. 22.) Having reviewed and considered the
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     Parties’ submission, the Court finds the Joint Motion fully complies with all applicable
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     rules, including this Court’s Civil Chambers Rule V: Stipulated Protective Order
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     Provisions for Filing Documents Under Seal. Accordingly, the Court GRANTS the Joint
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     Motion in its entirety. Upon issuance of this Order, the following language, as proposed
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     and stipulated to by the Parties, shall become immediately enforceable:
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           The Court recognizes that at least some of the documents and information
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     ("materials") being sought through discovery in the above-captioned action are, for
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 1   competitive reasons, normally kept confidential by the parties. The parties have agreed to
 2   be bound by the terms of this Protective Order (“Order”) in this action.
 3         The materials to be exchanged throughout the course of the litigation between the
 4   parties may contain trade secret or other confidential research, technical, cost, price,
 5   marketing or other commercial information, as is contemplated by Federal Rule of Civil
 6   Procedure 26(c)(1)(G). The purpose of this Order is to protect the confidentiality of such
 7   materials as much as practical during the litigation. THEREFORE:
 8         DEFINITIONS
 9         1.     The term "confidential information" will mean and include information
10   contained or disclosed in any materials, including documents, portions of documents,
11   answers to interrogatories, responses to requests for admissions, trial testimony, deposition
12   testimony, and transcripts of trial testimony and depositions, including data, summaries,
13   and compilations derived therefrom that is deemed to be confidential information by any
14   party to which it belongs.
15         2.     The term "materials" will include, but is not be limited to: documents;
16   correspondence; memoranda; bulletins; blueprints; specifications; customer lists or other
17   material that identify customers or potential customers; price lists or schedules or other
18   matter identifying pricing; minutes; telegrams; letters; statements; cancelled checks;
19   contracts; invoices; drafts; books of account; worksheets; notes of conversations; desk
20   diaries; appointment books; expense accounts; recordings; photographs; motion pictures;
21   compilations from which information can be obtained and translated into reasonably usable
22   form through detection devices; sketches; drawings; notes (including laboratory notebooks
23   and records); reports; instructions; disclosures; other writings; models and prototypes and
24   other physical objects.
25         3.     The term "counsel" will mean outside counsel of record, and other attorneys,
26   paralegals, secretaries, and other support staff employed in the law firms identified below:
27   The Webb Law Group, APC, and Gordon Rees Scully Mansukhani LLP; the term
28   “counsel” also includes in-house attorneys for Defendants.

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 1         GENERAL RULES
 2         4.     Each party to this litigation that produces or discloses any materials, answers
 3   to interrogatories, responses to requests for admission, trial testimony, deposition
 4   testimony, and transcripts of trial testimony and depositions, or information that the
 5   producing party believes should be subject to this Protective Order may designate the same
 6   as "CONFIDENTIAL" or "CONFIDENTIAL - FOR COUNSEL ONLY."
 7         a.     Designation as "CONFIDENTIAL": Any party may designate information as
 8   "CONFIDENTIAL" only if, in the good faith belief of such party and its counsel, the
 9   unrestricted disclosure of such information could be potentially prejudicial to the business
10   or operations of such party.
11         b.     Designation as "CONFIDENTIAL - FOR COUNSEL ONLY": Any party
12   may designate information as "CONFIDENTIAL - FOR COUNSEL ONLY" only if, in the
13   good faith belief of such party and its counsel, the information is among that considered to
14   be most sensitive by the party, including but not limited to trade secret or other confidential
15   research, development, financial or other commercial information.
16         5.     In the event the producing party elects to produce materials for inspection, no
17   marking need be made by the producing party in advance of the initial inspection. For
18   purposes of the initial inspection, all materials produced will be considered as
19   "CONFIDENTIAL” and must be treated as such pursuant to the terms of this Order.
20   Thereafter, upon selection of specified materials for copying by the inspecting party, the
21   producing party must, within five (5) days’ time prior to producing those materials to the
22   inspecting party, mark the copies of those materials that contain confidential information
23   with the appropriate confidentiality marking.
24         6.     Whenever a deposition taken on behalf of any party involves a disclosure of
25   confidential information of any party:
26         a.     the deposition or portions of the deposition must be designated as containing
27   confidential information subject to the provisions of this Order; such designation must be
28   made on the record whenever possible, but a party may designate portions of depositions

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 1   as containing confidential information after transcription of the proceedings; [A] party will
 2   have until fourteen (14) days after receipt of the deposition transcript to inform the other
 3   party or parties to the action of the portions of the transcript to be designated
 4   "CONFIDENTIAL" or "CONFIDENTIAL - FOR COUNSEL ONLY.”
 5         b.     the disclosing party will have the right to exclude from attendance at the
 6   deposition, during such time as the confidential information is to be disclosed, any person
 7   other than the deponent, counsel (including their staff and associates), the court reporter,
 8   and the person(s) agreed upon pursuant to paragraph 8 below; and
 9         c.     the originals of the deposition transcripts and all copies of the deposition must
10   bear the legend "CONFIDENTIAL" or "CONFIDENTIAL - FOR COUNSEL ONLY," as
11   appropriate, and the original or any copy ultimately presented to a court for filing must not
12   be filed unless it can be accomplished under seal, identified as being subject to this Order,
13   and protected from being opened except by order of this Court.
14         7.     All   confidential information designated as          "CONFIDENTIAL"          or
15   "CONFIDENTIAL FOR COUNSEL ONLY" must not be disclosed by the receiving party
16   to anyone other than those persons designated within this order and must be handled in the
17   manner set forth below and, in any event, must not be used for any purpose other than in
18   connection with this litigation, unless and until such designation is removed either by
19   agreement of the parties, or by order of the Court.
20         8.     Information designated "CONFIDENTIAL - FOR COUNSEL ONLY" must
21   be viewed only by counsel (as defined in paragraph 3) of the receiving party, and by
22   independent experts under the conditions set forth in this Paragraph. The right of any
23   independent expert to receive any confidential information will be subject to the advance
24   approval of such expert by the producing party or by permission of the Court. The party
25   seeking approval of an independent expert must provide the producing party with the name
26   and curriculum vitae of the proposed independent expert, and an executed copy of the form
27   attached hereto as Exhibit A, in advance of providing any confidential information of the
28   producing party to the expert.

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 1           9.    Information designated "confidential" must be viewed only by counsel (as
 2   defined in paragraph 3) of the receiving party, by independent experts (pursuant to the
 3   terms of paragraph 8), by court personnel, and by the additional individuals listed below,
 4   provided each such individual has read this Order in advance of disclosure and has agreed
 5   in writing to be bound by its terms:
 6           a)    Parties to this lawsuit, including guardian ad litems;
 7           b)    Executives who are required to participate in policy decisions with reference
 8   to this action;
 9           c)    Technical personnel of the parties with whom Counsel for the parties find it
10   necessary to consult, in the discretion of such counsel, in preparation for trial of this action;
11   and
12           d)    Stenographic and clerical employees associated with the individuals identified
13   above.
14           10.   With     respect     to    material       designated   "CONFIDENTIAL"           or
15   "CONFIDENTIAL – FOR COUNSEL ONLY," any person indicated on the face of the
16   document to be its originator, author or a recipient of a copy of the document, may be
17   shown the same.
18           11.   All information which has been designated as "CONFIDENTIAL -FOR
19   COUNSEL ONLY" by the producing or disclosing party, and any and all reproductions of
20   that information, must be retained in the custody of the counsel for the receiving party
21   identified in paragraph 3, except that independent experts authorized to view such
22   information under the terms of this Order may retain custody of copies such as are
23   necessary for their participation in this litigation.
24           12.   Before any materials produced in discovery, answers to interrogatories,
25   responses to requests for admissions, deposition transcripts, or other documents which are
26   designated as confidential information are filed with the Court for any purpose, the party
27   seeking to file such material must seek permission of the Court to file the material under
28   seal.

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 1         13.    No document shall be filed under seal unless counsel secures a court order
 2   allowing the filing of a document under seal. An application to file a document under seal
 3   shall be served on opposing counsel, and on the person or entity that has custody and
 4   control of the document, if different from opposing counsel. If opposing counsel, or the
 5   person or entity who has custody and control of the document, wishes to oppose the
 6   application, he/she must contact the chambers of the judge who will rule on the application,
 7   to notify the judge’s staff that an opposition to the application will be filed.
 8         14.    At any stage of these proceedings, any party may object to a designation of
 9   the materials as confidential information. The party objecting to confidentiality must
10   notify, in writing, counsel for the designating party of the objected-to materials and the
11   grounds for the objection. If the dispute is not resolved consensually between the parties
12   within seven (7) days of receipt of such a notice of objections, the designating party may
13   move the Court for a ruling on the objection. The materials at issue must be treated as
14   confidential information, as designated by the designating party, until the Court has ruled
15   on the objection or the matter has been otherwise resolved. If the designating party does
16   not move the court for a ruling on the objection within an additional seven (7) days after
17   the dispute is not able to be resolved (that is, a total of fourteen (14) days from the first
18   notice of the objection), such objected-to materials will be deemed de-designated as
19   “confidential.”
20         15.    All confidential information must be held in confidence by those inspecting
21   or receiving it, and must be used only for purposes of this action. Counsel for each party,
22   and each person receiving confidential information must take reasonable precautions to
23   prevent the unauthorized or inadvertent disclosure of such information. If confidential
24   information is disclosed to any person other than a person authorized by this Order, the
25   party responsible for the unauthorized disclosure must immediately bring all pertinent facts
26   relating to the unauthorized disclosure to the attention of the other parties and, without
27   prejudice to any rights and remedies of the other parties, make every effort to prevent
28   further disclosure by the party and by the person(s) receiving the unauthorized disclosure.

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 1         16.    No party will be responsible to another party for disclosure of confidential
 2   information under this Order if the information in question is not labeled or otherwise
 3   identified as such in accordance with this Order.
 4         17.     If a party, through inadvertence, produces any confidential information
 5   without labeling or marking or otherwise designating it as such in accordance with this
 6   Order, the designating party may give written notice to the receiving party that the
 7   document or thing produced is deemed confidential information, and that the document or
 8   thing produced should be treated as such in accordance with that designation under this
 9   Order. The receiving party must treat the materials as confidential, once the designating
10   party so notifies the receiving party. If the receiving party has disclosed the materials before
11   receiving the designation, the receiving party must notify the designating party in writing
12   of each such disclosure. Counsel for the parties will agree on a mutually acceptable manner
13   of labeling or marking the inadvertently produced materials as "CONFIDENTIAL" or
14   "CONFIDENTIAL - FOR COUNSEL ONLY" - SUBJECT TO PROTECTIVE ORDER.
15         18.    Nothing within this order will prejudice the right of any party to object to the
16   production of any discovery material on the grounds that the material is protected as
17   privileged or as attorney work product.
18         19.    Nothing in this Order will bar counsel from rendering advice to their clients
19   with respect to this litigation and, in the course thereof, relying upon any information
20   designated as confidential information, provided that the contents of the information must
21   not be disclosed.
22         20.    This Order will be without prejudice to the right of any party to oppose
23   production of any information for lack of relevance or any other ground other than the mere
24   presence of confidential information. The existence of this Order must not be used by either
25   party as a basis for discovery that is otherwise improper under the Federal Rules of Civil
26   Procedure.
27         21.    Nothing within this order will be construed to prevent disclosure of
28   confidential information if such disclosure is required by law or by order of the Court.

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 1         22.    Upon final termination of this action, including any and all appeals, counsel
 2   for each party must, upon request of the producing party, return all confidential information
 3   to the party that produced the information, including any copies, excerpts, and summaries
 4   of that information, or must destroy same at the option of the receiving party, and must
 5   purge all such information from all machine-readable media on which it resides.
 6   Notwithstanding the foregoing, counsel for each party may retain all pleadings, briefs,
 7   memoranda, motions, and other documents filed with the Court that refer to or incorporate
 8   confidential information, and will continue to be bound by this Order with respect to all
 9   such retained information. Further, attorney work product materials that contain
10   confidential information need not be destroyed, but, if they are not destroyed, the person
11   in possession of the attorney work product will continue to be bound by this Order with
12   respect to all such retained information.
13         23.    The restrictions and obligations set forth within this order will not apply to
14   any information that: (a) the parties agree should not be designated confidential
15   information; (b) the parties agree, or the Court rules, is already public knowledge; (c) the
16   parties agree, or the Court rules, has become public knowledge other than as a result of
17   disclosure by the receiving party, its employees, or its agents in violation of this Order; or
18   (d) has come or will come into the receiving party's legitimate knowledge independently
19   of the production by the designating party. Prior knowledge must be established by pre-
20   production documentation.
21         24.    The restrictions and obligations within this order will not be deemed to
22   prohibit discussions of any confidential information with anyone if that person already has
23   or obtains legitimate possession of that information.
24         25.    Transmission by email or some other currently utilized method of
25   transmission is acceptable for all notification purposes within this Order.
26         26.    This Order may be modified by agreement of the parties, subject to approval
27   by the Court.
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 1          The Court may modify the terms and conditions of this Order for good cause, or in
 2   the interest of justice, or on its own order at any time in these proceedings. The parties
 3   prefer that the Court provide them with notice of the Court's intent to modify the Order and
 4   the content of those modifications, prior to entry of such an order.
 5         IT IS SO ORDERED.
 6   Dated: August 3, 2020
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